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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )           CASE NO. CR20-092JCC
08         Plaintiff,                     )
                                          )
09         v.                             )
                                          )           ORDER DENYING REQUEST FOR
10   ALAN GOMEZ MARENTES,                 )           TEMPORARY RELEASE
                                          )
11         Defendant.                     )
     ____________________________________ )
12

13           This matter comes before the Court on Defendant’s motion to for temporary release.

14 Dkt. 589. The Court has considered the pleadings filed in support of and in opposition to the

15 motion and the remainder of the file and hereby DENIES the motion for the reasons stated

16 herein.

17                      PROCEDURAL AND FACTUAL BACKGROUND

18           On July 24, 2020, Defendant was indicted on the following counts: Conspiracy to

19 Distribute Controlled Substances (Count 1), in violation of Title 21, United States Code,

20 Sections 841(a)(1) and 841(b)(1)(A); Possession with Intent to Distribute Methamphetamine

21 (Count 2), in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A);

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01 and Conspiracy to Commit Money Laundering (Count 4), in violation of Title 18, United

02 States Code, Section 1956(h). Dkt. 1. He made his first appearance before the Honorable

03 Brain A. Tsuchida on July 29, 2020, and the government filed a motion for detention, as well

04 as an Omnibus Detention Motion. Dkts. 90, 79. On August 4, 2020, the defendant filed a

05 Stipulation and Waiver of Detention Hearing. Dkt. 131. On August 6, 2020, the Honorable

06 Mary Alice Theiler ordered the defendant detained pending trial. On March 31, 2021, the

07 Grand Jury returned a second superseding Indictment charging the defendant with the same

08 counts, in addition to Possession with Intent to Distribute Methamphetamine and Heroin

09 (Count 5), in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

10 Dkt. 378. An order continuing detention was filed on April 1, 2021. On May 27, 2021,

11 Defendant moved to re-open his detention hearing on the ground that his leg injury, which

12 occurred prior to his arrest, required medical treatment that was not being provided at the

13 Federal Detention Center (FDC). Dkt. 494. This Court denied that motion on June 14,

14 2021. Dkt. 514.

15                                          DISCUSSION

16          Temporary release may be granted if the Court determines that release is “necessary

17 for preparation of the person’s defense or for another compelling reason.” 18 U.S.C. §

18 3142(i). A defendant bears the burden of establishing circumstances warranting temporary

19 release under § 3142(i). United States v. Terrone, 454 F.Supp. 3d 1009, 1018 (D. Nev.

20 2020). The original grounds for detention remain a factor in the court’s analysis. United

21 States v. Rhule, No. 20-CR-105-JCC, 2021 WL 63250, at *4 (W.D. Wash. Jan. 7, 2021). The

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01 relief authorized by § 3142(i) is to be used “sparingly.” United States v. McKnight, 2020 WL

02 1872412 at *2-3, CR18-16-TSZ (W.D. Wash. April 15, 2020).

03           As the Court noted in the previous Order, the Court understands that Defendant has

04 suffered ongoing pain from the injury and immediate access to potential surgical options may

05 have been limited by Defendant’s detention. However, the record continues to demonstrate

06 continuing efforts by FDC staff to address Defendant’s medical needs, including pain

07 management, medical equipment including a cane, and use of a lower bunk. Dkt. 591,

08 Exhibit 2 at 46-47, 50. Moreover, a physician at Harborview has twice reviewed

09 Defendant’s medical records and there is nothing in those responses to suggest that surgery is

10 urgent. See Dkt. 597, Exhibit 1 at 4 (“the Dr. reviewed what I sent over and he doesn’t feel it

11 is urgent”); Exhibit 2 at 2 (“they state that after reviewing the records; the Dr still is willing to

12 see him “once he is released””). Defendant refers to a consultation with an “retired doctor”

13 regarding the medical risks if Defendant were to return to jail after surgery but provides no

14 factual basis to support either the urgency of any surgery or the contention that Defendant’s

15 condition “is likely to get worse” in the absence of surgery. Dkt. 589 at 6. Defendant has

16 not met his burden.

17           Defendant does not allege any change to the facts relevant to the Court’s consideration

18 of the 18 U.S.C. § 3142(g) factors 1. As the Court previously found, Defendant’s criminal

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     A Court deciding a detention issue is to consider the following factors: (1) the “nature and
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20 circumstances of the offense charged,” (2) the “weight of the evidence against” the defendant, (3) the
   “history and characteristics” of the defendant, including his “character, physical and mental condition,
21 family ties, employment, financial resources, length of residence in the community, community ties,
   past conduct, history relating to drug or alcohol abuse, criminal history, and record concerning
22 appearance at court proceedings,” and (4) ”the nature and seriousness of the danger to any person or


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01 history, (involving a prior federal controlled substances felony), the nature and circumstances

02 of the case (allegedly leading a significant drug trafficking organization in the processing and

03 distribution of large amounts of methamphetamine, and related money laundering and

04 firearms trafficking), and his connection to Mexico, establish that Defendant cannot overcome

05 the presumption that he is both a risk of flight 2 and a danger to the community.

06              The motion is DENIED.

07              DATED this 16th day of November, 2021.

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                                                                    A
                                                                    S. KATE VAUGHAN
10                                                                  United States Magistrate Judge

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20 the community that would be posed by the person’s release.” 18 U.S.C. § 3142(g).
     2
         Congress has determined that persons charged with major drug offenses often have the foreign ties and
21 resources necessary to escape with ease, and intended magistrate judges to take account of the general rule that
     drug offenders pose a special risk of flight. United States v. Rodriguez-Adorno, 606 F. Supp. 2d 232, 241
22   (D.P.R. 2009)(internal citations omitted), citing United States v. Fortna, 769 F.2d 243, 251 (5th Cir.1985).



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